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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

   JASON KERZNOWSKI, Individually                Case No.
   and On Behalf of All Others Similarly
   Situated,                                     CLASS ACTION COMPLAINT FOR
                                                 VIOLATION OF THE FEDERAL
          Plaintiff,                             SECURITIES LAWS

          v.                                     JURY TRIAL DEMANDED

   OPKO HEALTH, INC., PHILLIP
   FROST, ADAM LOGAL, AND JUAN F.
   RODRIGUEZ,

          Defendants.


        Plaintiff Jason Kerznowski (“Plaintiff”) individually and on behalf of all other

  persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

  complaint against Defendants (defined below), alleges the following based upon

  personal knowledge as to Plaintiff and Plaintiff’s own acts, and upon information

  and belief as to all other matters based on the investigation conducted by and through

  Plaintiff’s attorneys, which included, among other things, a review of Securities and


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  Exchange Commission (“SEC”) filings by OPKO Health, Inc. (“OPKO” or the

  “Company”), as well as media and analyst reports about the Company. Plaintiff

  believes that substantial evidentiary support will exist for the allegations set forth

  herein after a reasonable opportunity for discovery.

                            NATURE OF THE ACTION

          1.   This is a federal securities class action on behalf of a class consisting

  of all persons and entities, other than Defendants and their affiliates, who purchased

  publicly traded OPKO securities from September 26, 2013 through September 7,

  2018, both dates inclusive (“Class Period”), seeking to recover compensable

  damages caused by Defendants’ violations of federal securities laws and pursue

  remedies under the Securities Exchange Act of 1934 (the “Exchange Act”).

                           JURISDICTION AND VENUE

          2.   The claims asserted herein arise under and pursuant to Sections 10(b)

  and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

  promulgated thereunder (17 C.F.R. § 240.10b-5).

          3.   This Court has jurisdiction over the subject matter of this action

  pursuant to Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. §

  1331.




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        4.     Venue is proper in this judicial district pursuant to Section 27 of the

  Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as the Company conducts

  business and has properties in this District.

        5.     In connection with the acts, conduct and other wrongs alleged herein,

  Defendants either directly or indirectly used the means and instrumentalities of

  interstate commerce, including but not limited to the United States mails, interstate

  telephone communications, and the facilities of the national securities exchange.

                                        PARTIES

        6.     Plaintiff, as set forth in the accompanying PSLRA Certification,

  acquired OPKO securities at artificially inflated prices during the Class Period and

  was damaged upon the revelation of the alleged corrective disclosures.

        7.     Defendant OPKO, a healthcare company, engages in the diagnostics

  and pharmaceuticals business in the United States and internationally – including in

  Ireland, Chile, Spain, Israel, and Mexico. The Company is a Delaware corporation

  with a main laboratory in Elmwood Park, New Jersey. OPKO securities trade on

  NASDAQ under the symbol “OPK.”

        8.     Defendant Phillip Frost (“Frost”) has been the Company’s Chief

  Executive Officer (“CEO”) and Chairman since March 2007.

        9.     Defendant Adam Logal (“Logal”) served as the Company’s Senior

  Vice President and Chief Financial Officer (“CFO”) since April 2014. Defendant



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  Logal was the Vice President of Finance and Chief Accounting Officer of OPKO

  from July 2012 until April 2014.

        10.    Defendant Juan F. Rodriguez (“Rodriguez”) served as the Company’s

  Senior Vice President and CFO from July 2012 to April 1, 2014.

        11.   Defendants Frost, Logal, and Rodriguez are herein referred to as

  “Individual Defendants.”

        12.   Collectively, Defendant OPKO and Individual Defendants are herein

  referred to as “Defendants.”

        13.   Each of the Individual Defendants:

              a.     directly participated in the management of the Company;

              b.     was directly involved in the day-to-day operations of the

                     Company at the highest levels;

              c.     was privy to confidential proprietary information concerning the

                     Company and its business and operations;

              d.     was directly or indirectly involved in drafting, producing,

                     reviewing and/or disseminating the false and misleading

                     statements and information alleged herein;

              e.     was directly or indirectly involved in the oversight or

                     implementation of the Company’s internal controls;




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                f.   was aware of or recklessly disregarded the fact that the false and

                     misleading statements were being issued concerning the

                     Company; and/or

                g.   approved or ratified these statements in violation of the federal

                     securities laws.

        14.     OPKO is liable for the acts of the Individual Defendants and its

  employees under the doctrine of respondeat superior and common law principles of

  agency as all of the wrongful acts complained of herein were carried out within the

  scope of their employment with authorization.

        15.     The scienter of the Individual Defendants and other employees and

  agents of the Company is similarly imputed to OPKO under respondeat superior

  and agency principles.

                           SUBSTANTIVE ALLEGATIONS
              Defendants’ False and Misleading Class Period Statements

        16.     On September 26, 2013, the article “Opko and Its Billionaire CEO

  Invested in Biozone” appeared on Seeking Alpha. As part of a scheme to inflate the

  price of Biozone Pharmaceuticals (“Biozone”) securities, the article touted Biozone

  by using OPKO and Defendant Frost’s ownership in Biozone as Frost had a

  reputation as a successful biotech investor.




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        17.    On November 12, 2013, the Company filed a Form 10-Q for the quarter

  ended September 30, 2013 (the “3Q 2013 10-Q”) with the SEC, which provided the

  Company’s third quarter 2017 financial results and position. The 3Q 2013 10-Q was

  signed by Defendant Logal. The 3Q 2013 10-Q contained signed certifications

  pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants Frost and

  Rodriguez attesting to the accuracy of financial reporting, the disclosure of any

  material changes to the Company’s internal control over financial reporting and the

  disclosure of all fraud.

        18.     On March 3, 2014, the Company filed a Form 10-K for the year ended

  December 31, 2013 (the “2013 10-K”) with the SEC, which provided the Company’s

  full year 2013 financial results and position. The 2013 10-K was signed by

  Defendants Frost, Rodriguez, and Logal. The 2013 10-K contained signed SOX

  certifications by Defendants Frost and Rodriguez attesting to the accuracy of

  financial reporting, the disclosure of any material changes to the Company’s internal

  control over financial reporting and the disclosure of all fraud.

        19.    On February 27, 2015, the Company filed a Form 10-K for the year

  ended December 31, 2014 (the “2014 10-K”) with the SEC, which provided the

  Company’s full year 2014 financial results and position. The 2014 10-K was signed

  by Defendants Frost and Logal. The 2014 10-K contained signed SOX certifications

  by Defendants Frost and Logal attesting to the accuracy of financial reporting, the



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  disclosure of any material changes to the Company’s internal control over financial

  reporting and the disclosure of all fraud.

        20.    On April 8, 2015, the article entitled, “Opko Spots Another Overlooked

  Opportunity in MabVax Therapeutics” appeared on Seeking Alpha. Similar to the

  Seeking Alpha article on Biozone, this article used OPKO and Defendant Frost’s

  reputations to improperly pump up the price of MabVax Therapeutics securities.

        21.    On February 29, 2016, the Company filed a Form 10-K for the year

  ended December 31, 2015 (the “2015 10-K”) with the SEC, which provided the

  Company’s full year 2015 financial results and position. The 2015 10-K was signed

  by Defendants Frost and Logal. The 2015 10-K contained signed SOX certifications

  by Defendants Frost and Logal attesting to the accuracy of financial reporting, the

  disclosure of any material changes to the Company’s internal control over financial

  reporting and the disclosure of all fraud.

        22.    On March 1, 2017, the Company filed a Form 10-K for the year ended

  December 31, 2016 (the “2016 10-K”) with the SEC, which provided the Company’s

  full year 2016 financial results and position. The 2016 10-K was signed by

  Defendants Frost and Logal. The 2016 10-K contained signed SOX certifications by

  Defendants Frost and Logal attesting to the accuracy of financial reporting, the

  disclosure of any material changes to the Company’s internal control over financial

  reporting and the disclosure of all fraud.



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        23.    On March 1, 2018, the Company filed a Form 10-K for the year ended

  December 31, 2017 (the “2017 10-K”) with the SEC, which provided the Company’s

  full year 2017 financial results and position. The 2017 10-K was signed by

  Defendants Frost and Logal. The 2017 10-K contained signed SOX certifications by

  Defendants Frost and Logal attesting to the accuracy of financial reporting, the

  disclosure of any material changes to the Company’s internal control over financial

  reporting and the disclosure of all fraud.

        24.    The statements referenced in ¶¶16-23 above were materially false

  and/or misleading because they misrepresented and/or failed to disclose the

  following adverse facts pertaining to the Company’s business and operations which

  were known to Defendants or recklessly disregarded by them. Specifically,

  Defendants made false and/or misleading statements and/or failed to disclose that:

  (1) Defendant Frost and OPKO were engaged in a pump-and-dump scheme with

  several other individuals and companies in their investments in several penny stocks;

  (2) this illicit scheme would result in governmental scrutiny including from the SEC;

  and (3) as a result, Defendants’ statements about OPKO’s business, operations and

  prospects were materially false and misleading and/or lacked a reasonable basis at

  all relevant times.




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                                  The Truth Emerges

        25.    On September 7, 2018, the SEC issued a press release entitled “SEC

  Charges Microcap Fraudsters for Roles in Lucrative Market Manipulation Schemes”

  which included Frost and OPKO as defendants. The SEC made its complaint against

  Frost, OPKO, and others available at its website at https://www.sec.gov/news/press-

  release/2018-182. The press release states in relevant part:

        Washington D.C., Sept. 7, 2018 —The Securities and Exchange
        Commission today charged a group of 10 individuals and 10 associated
        entities for their participation in long-running fraudulent schemes that
        generated over $27 million from unlawful stock sales and caused
        significant harm to retail investors who were left holding virtually
        worthless stock.

        According to the SEC’s complaint, from 2013 to 2018, a group of
        prolific South Florida-based microcap fraudsters led by Barry Honig
        manipulated the share price of the stock of three companies in classic
        pump-and-dump schemes. Miami biotech billionaire Phillip Frost
        allegedly participated in two of these three schemes. Honig allegedly
        orchestrated the acquisition of large quantities of the issuer’s stock at
        steep discounts, and after securing a substantial ownership interest in
        the companies, Honig and his associates engaged in illegal
        promotional activity and manipulative trading to artificially boost
        each issuer’s stock price and to give the stock the appearance of active
        trading volume. According to the SEC’s complaint, Honig and his
        associates then dumped their shares into the inflated market, reaping
        millions of dollars at the expense of unsuspecting investors.

        “As alleged, Honig and his associates engaged in brazen market
        manipulation that advanced their financial interests while fleecing
        innocent investors and undermining the integrity of our securities
        markets,” said Sanjay Wadhwa, Senior Associate Director in the SEC’s
        Division of Enforcement. “They failed to appreciate, however, the
        SEC’s resolve to relentlessly pursue and punish participants in
        microcap fraud schemes.”


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        The SEC’s complaint, which was filed in federal district court in
        Manhattan, charges Honig, John Stetson, Michael Brauser, John R.
        O’Rourke III, Mark Groussman, Frost, Elliot Maza, Robert Ladd,
        Brian Keller, John H. Ford, Alpha Capital Anstalt, ATG Capital LLC,
        GRQ Consultants Inc., HS Contrarian Investments LLC, Grander
        Holdings Inc., Melechdavid Inc., OPKO Health Inc., Frost Gamma
        Investments Trust, Southern Biotech Inc., and Stetson Capital
        Investments Inc. with violating antifraud, beneficial ownership
        disclosure, and registration provisions of the federal securities laws and
        seeks monetary and equitable relief.

        (Emphasis added).

        26.    On this news, shares of OPKO fell $1.01 or over 18%, before NASDAQ

  halted the trading of OPKO on September 7, 2018 at 2:34 p.m. EDT at $4.58. To

  date, trading in OPKO remains halted, making the Company’s stock illiquid and

  virtually worthless.

        27.    As a result of Defendants’ wrongful acts and omissions, and the

  precipitous decline in the market value of the Company’s common shares, Plaintiff

  and other Class members have suffered significant losses and damages.

                 PLAINTIFF’S CLASS ACTION ALLEGATIONS

        28.    Plaintiff brings this action as a class action pursuant to Federal Rule of

  Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who

  purchased or otherwise acquired the publicly traded securities of OPKO during the

  Class Period (the “Class”); and were damaged upon the revelation of the alleged

  corrective disclosure. Excluded from the Class are Defendants herein, the officers



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  and directors of the Company, at all relevant times, members of their immediate

  families and their legal representatives, heirs, successors or assigns and any entity in

  which Defendants have or had a controlling interest.

         29.      The members of the Class are so numerous that joinder of all members

  is impracticable. Throughout the Class Period, the Company’s securities were

  actively traded on NASDAQ. While the exact number of Class members is unknown

  to Plaintiff at this time and can be ascertained only through appropriate discovery,

  Plaintiff believes that there are hundreds or thousands of members in the proposed

  Class. Record owners and other members of the Class may be identified from records

  maintained by the Company or its transfer agent and may be notified of the pendency

  of this action by mail, using the form of notice similar to that customarily used in

  securities class actions.

         30.      Plaintiff’s claims are typical of the claims of the members of the Class

  as all members of the Class are similarly affected by Defendants’ wrongful conduct

  in violation of federal law that is complained of herein.

         31.      Plaintiff will fairly and adequately protect the interests of the members

  of the Class and has retained counsel competent and experienced in class and

  securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

  of the Class.




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        32.   Common questions of law and fact exist as to all members of the Class

  and predominate over any questions solely affecting individual members of the

  Class. Among the questions of law and fact common to the Class are:

        (a)   whether Defendants’ acts as alleged violated the federal securities laws;

        (b)   whether Defendants’ statements to the investing public during the Class

              Period misrepresented material facts about the financial condition,

              business, operations, and management of the Company;

        (c)   whether Defendants’ statements to the investing public during the Class

              Period omitted material facts necessary to make the statements made,

              in light of the circumstances under which they were made, not

              misleading;

        (d)   whether the Individual Defendants caused the Company to issue false

              and misleading SEC filings and public statements during the Class

              Period;

        (e)   whether Defendants acted knowingly or recklessly in issuing false and

              misleading SEC filings and public statements during the Class Period;

        (f)   whether the prices of the Company’s securities during the Class Period

              were artificially inflated because of the Defendants’ conduct

              complained of herein; and




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        (g)    whether the members of the Class have sustained damages and, if so,

               what is the proper measure of damages.

        33.    A class action is superior to all other available methods for the fair and

  efficient adjudication of this controversy since joinder of all members is

  impracticable. Furthermore, as the damages suffered by individual Class members

  may be relatively small, the expense and burden of individual litigation make it

  impossible for members of the Class to individually redress the wrongs done to them.

  There will be no difficulty in the management of this action as a class action.

        34.    Plaintiff will rely, in part, upon the presumption of reliance established

  by the fraud-on-the-market doctrine in that:

        (a)    Defendants made public misrepresentations or failed to disclose

               material facts during the Class Period;

        (b)    the omissions and misrepresentations were material;

        (c)    the Company’s securities are traded in efficient markets;

        (d)    the Company’s securities were liquid and traded with moderate to

               heavy volume during the Class Period;

        (e)    the Company traded on the NASDAQ, and was covered by multiple

               analysts;

        (f)    the misrepresentations and omissions alleged would tend to induce a

               reasonable investor to misjudge the value of the Company’s securities;



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               Plaintiff and members of the Class purchased and/or sold the

               Company’s securities between the time the Defendants failed to

               disclose or misrepresented material facts and the time the true facts

               were disclosed, without knowledge of the omitted or misrepresented

               facts; and

        (g)    Unexpected material news about the Company was rapidly reflected in

               and incorporated into the Company’s stock price during the Class

               Period.

        35.    Based upon the foregoing, Plaintiff and the members of the Class are

  entitled to a presumption of reliance upon the integrity of the market.

        36.    Alternatively, Plaintiff and the members of the Class are entitled to the

  presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

  of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as

  Defendants omitted material information in their Class Period statements in violation

  of a duty to disclose such information, as detailed above.

                                        COUNT I

          Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                              Against All Defendants

        37.    Plaintiff repeats and realleges each and every allegation contained

  above as if fully set forth herein.




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        38.    This Count is asserted against the Company and the Individual

  Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),

  and Rule 10b-5 promulgated thereunder by the SEC.

        39.       During the Class Period, the Company and the Individual Defendants,

  individually and in concert, directly or indirectly, disseminated or approved the false

  statements specified above, which they knew or deliberately disregarded were

  misleading in that they contained misrepresentations and failed to disclose material

  facts necessary in order to make the statements made, in light of the circumstances

  under which they were made, not misleading.

        40.    The Company and the Individual Defendants violated §10(b) of the

  1934 Act and Rule 10b-5 in that they: employed devices, schemes and artifices to

  defraud; made untrue statements of material facts or omitted to state material facts

  necessary in order to make the statements made, in light of the circumstances under

  which they were made, not misleading; and/or engaged in acts, practices and a course

  of business that operated as a fraud or deceit upon plaintiff and others similarly

  situated in connection with their purchases of the Company’s securities during the

  Class Period.

        41.    The Company and the Individual Defendants acted with scienter in that

  they knew that the public documents and statements issued or disseminated in the

  name of the Company were materially false and misleading; knew that such



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  statements or documents would be issued or disseminated to the investing public;

  and knowingly and substantially participated, or acquiesced in the issuance or

  dissemination of such statements or documents as primary violations of the

  securities laws. These defendants by virtue of their receipt of information reflecting

  the true facts of the Company, their control over, and/or receipt and/or modification

  of the Company’s allegedly materially misleading statements, and/or their

  associations with the Company which made them privy to confidential proprietary

  information concerning the Company, participated in the fraudulent scheme alleged

  herein.

        42.     Individual Defendants, who are the senior officers and/or directors of

  the Company, had actual knowledge of the material omissions and/or the falsity of

  the material statements set forth above, and intended to deceive Plaintiff and the

  other members of the Class, or, in the alternative, acted with reckless disregard for

  the truth when they failed to ascertain and disclose the true facts in the statements

  made by them or other personnel of the Company to members of the investing public,

  including Plaintiff and the Class.

        43.    As a result of the foregoing, the market price of the Company’s

  securities was artificially inflated during the Class Period. In ignorance of the falsity

  of the Company’s and the Individual Defendants’ statements, Plaintiff and the other

  members of the Class relied on the statements described above and/or the integrity



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  of the market price of the Company’s securities during the Class Period in

  purchasing the Company’s securities at prices that were artificially inflated as a

  result of the Company’s and the Individual Defendants’ false and misleading

  statements.

         44.    Had Plaintiff and the other members of the Class been aware that the

  market price of the Company’s securities had been artificially and falsely inflated

  by the Company’s and the Individual Defendants’ misleading statements and by the

  material adverse information which the Company’s and the Individual Defendants

  did not disclose, they would not have purchased the Company’s securities at the

  artificially inflated prices that they did, or at all.

         45.     As a result of the wrongful conduct alleged herein, Plaintiff and other

  members of the Class have suffered damages in an amount to be established at trial.

         46.    By reason of the foregoing, the Company and the Individual Defendants

  have violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder

  and are liable to the Plaintiff and the other members of the Class for substantial

  damages which they suffered in connection with their purchases of the Company’s

  securities during the Class Period.




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                                       COUNT II

                   Violation of Section 20(a) of The Exchange Act
                         Against the Individual Defendants

        47.    Plaintiff repeats and realleges each and every allegation contained in

  the foregoing paragraphs as if fully set forth herein.

        48.    During the Class Period, the Individual Defendants participated in the

  operation and management of the Company, and conducted and participated, directly

  and indirectly, in the conduct of the Company’s business affairs. Because of their

  senior positions, they knew the adverse non-public information regarding the

  Company’s business practices.

        49.    As officers and/or directors of a publicly owned company, the

  Individual Defendants had a duty to disseminate accurate and truthful information

  with respect to the Company’s financial condition and results of operations, and to

  correct promptly any public statements issued by the Company which had become

  materially false or misleading.

        50.    Because of their positions of control and authority as senior officers,

  the Individual Defendants were able to, and did, control the contents of the various

  reports, press releases and public filings which the Company disseminated in the

  marketplace during the Class Period. Throughout the Class Period, the Individual

  Defendants exercised their power and authority to cause the Company to engage in

  the wrongful acts complained of herein. The Individual Defendants therefore, were


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  “controlling persons” of the Company within the meaning of Section 20(a) of the

  Exchange Act. In this capacity, they participated in the unlawful conduct alleged

  which artificially inflated the market price of the Company’s securities.

        51.    Each of the Individual Defendants, therefore, acted as a controlling

  person of the Company. By reason of their senior management positions and/or

  being directors of the Company, each of the Individual Defendants had the power to

  direct the actions of, and exercised the same to cause, the Company to engage in the

  unlawful acts and conduct complained of herein. Each of the Individual Defendants

  exercised control over the general operations of the Company and possessed the

  power to control the specific activities which comprise the primary violations about

  which Plaintiff and the other members of the Class complain.

        52.    By reason of the above conduct, the Individual Defendants are liable

  pursuant to Section 20(a) of the Exchange Act for the violations committed by the

  Company.

                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

        A.     Determining that the instant action may be maintained as a class action

  under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

  Class representative;




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        B.     Requiring Defendants to pay damages sustained by Plaintiff and the

  Class by reason of the acts and transactions alleged herein;

        C.     Awarding Plaintiff and the other members of the Class prejudgment and

  post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and

  other costs; and

        D.     Awarding such other and further relief as this Court may deem just and

  proper.

                         DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury.

  Dated: September 12, 2018              Respectfully submitted,

                                         THE ROSEN LAW FIRM, P.A.

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